Case 15-66682-jrs         Doc 10       Filed 09/10/15 Entered 09/10/15 13:56:43                       Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                                     )
   In re                                             )     Chapter 13
                                                     )
   TYRIOM DEMETRICE EDWARDS,                         )     Case No. 15-66682-jrs
                                                     )
   Debtor(s)                                         )
                                                     )

                REQUEST OF RECOVERY MANAGEMENT SYSTEMS CORPORATION
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that Recovery Management Systems Corporation, as authorized agent for

  Rural Metro (Rural Metro), a creditor in the above-captioned chapter 13 case, requests, pursuant to Rules

  2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1),

  342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

  Bankruptcy Code), that all notices given or required to be given and all papers served or required to be

  served in this case be also given to and served, whether electronically or otherwise, on:


               Rural Metro
               c/o Recovery Management Systems Corporation
               25 SE 2nd Avenue, Suite 1120
               Miami, FL 33131-1605
               Telephone: (305) 379-7674
               Facsimile: (305) 374-8113
               E-mail: claims@recoverycorp.com


  Dated: Miami, Florida
  September 10, 2015
                                                         By: /s/ Ramesh Singh
                                                         Ramesh Singh
                                                         c/o Recovery Management Systems
                                                         Corporation
                                                         Financial Controller
                                                         25 SE 2nd Avenue, Suite 1120
                                                         Miami, FL 33131-1605
                                                         (305) 379-7674
  Assignee Creditor: Rural Metro
